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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  MICHAEL RAY STAFFORD,                                 )
  et al.                                                )
                Plaintiffs,                             )
                                                        )
                 v.                                     ) CASE NO. 1:17-cv-00289-JMS-MJD
                                                        )
  ROBERT E. CARTER, Jr.,                                )
  et al.                                                )
                 Defendants.                            )

   RESPONSE TO MOTION TO CONVERT TRIAL SETTING TO REMEDY HEARING

         State Defendants, by counsel, Benjamin Jones, Deputy Attorney General, for their response

  to Plaintiffs’ motion to convert the trial setting to remedy hearing state as follows:

         1. This matter is set for trial on February 25, 2019. [Dkt. 149.] Plaintiffs now move the

             Court to convert the trial setting to a remedy hearing on their class claim for injunctive

             relief under the Eighth Amendment. [Dkt. 203, pp. 1-2.]

         2. State Defendants have no objection to the Plaintiff’s motion requesting the trial setting

             be converted to a remedy hearing, but deny that any injunctive relief is appropriate in

             this matter.



                                                 Respectfully submitted,

                                                 CURTIS T. HILL, Jr.
                                                 Indiana Attorney General


                                            By: s/ Benjamin M. L. Jones
                                                Benjamin M. L. Jones
                                                Deputy Attorney General
                                                Attorney No. 29976-53
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                                     CERTIFICATE OF SERVICE

         I certify that on December 26, 2018, a copy of the foregoing was filed electronically

  using the Court’s CM/ECF system, sending notice to the following parties who may access this

  filing using the Court’s system:

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